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1    BENJAMIN B. WAGNER
     United States Attorney
2    KIMBERLY A. SANCHEZ
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5    Attorneys for Plaintiff
     United States of America
6
                                    IN THE UNITED STATES DISTRICT COURT
7
                                        EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                              CASE NO. 1:15-CR-00170LJO-SKO
9
                                   Plaintiff,               STIPULATION TO CONTINUE STATUS
10                                                          CONFERENCE AND ORDER THEREON
                            v.
11
     RAYMOND SLATON,
12   SIDNEY ALLEN,
     DONNELL MAYS, AND
13   OMAR LOPEZ,

14                                Defendants.

15

16           IT IS HEREBY STIPULATED by and between Benjamin B. Wagner, United States Attorney and

17   Kimberly A. Sanchez, Assistant U.S. Attorney and Victor Chavez, Eric Fogderude, Salvatore Sciandra, and

18   Anthony Capozzi, attorneys for the defendants, that the status conference set for October 5, 2015 at 1:00 pm

19   before the Honorable Sheila K. Oberto be continued to November 30, 2015 at 1:00 p.m. The reason for the

20   request is the parties need additional time for further investigation and review of discovery, which entails a

21   review of extensive wiretap discovery.

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       Stipulation                                          1
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              Case 1:15-cr-00170-LJO-SKO Document 39 Filed 10/02/15 Page 2 of 2


1    The parties further request the Court to enter an Order finding that the "ends of justice" served by a

2    continuance outweigh the interest of the public and the defendant in a speedy trial, and that the delay

3    occasioned by such continuance is excluded from the Act's time limits pursuant to 18 U.S.C. §

4    3161(h)(7)(A).

5

6             Dated: October 1, 2015                                 Respectfully submitted,

7                                                                    BENJAMIN B. WAGNER
                                                                     United States Attorney
8

9
                                                             By      /s/ Kimberly A. Sanchez
10                                                                   KIMBERLY A. SANCHEZ
                                                                     Assistant U.S. Attorney
11
              Dated: October 1, 2015                                 /s/ Victor Chavez
12                                                                   VICTOR CHAVEZ
                                                                     Attorney for Raymond Slaton
13
              Dated: October 1, 2015`                                /s/ Salvatore Sciandra
14                                                                   SALVATORE SCIANDRA
15                                                                   Attorney for Sidney Allen

16            Dated: October 1, 2015                                 /s/ Eric Fogderude
                                                                     ERIC FOGDERUDE
17                                                                   Attorney for Donnell Mays

18            Dated: October 1, 2015                                 /s/ Anthony Capozzi
                                                                     ANTHONY CAPOZZI
19                                                                   Attorney for Omar Lopez
20
                                                        ORDER
21

22
     IT IS SO ORDERED.
23

24
     Dated:     October 2, 2015                                      /s/ Sheila K. Oberto
                                                          UNITED STATES MAGISTRATE JUDGE
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       Stipulation                                          2
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